         Case 2:19-mc-03877-ECM Document 4 Filed 07/26/19 Page 1 of 1



                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
       Plaintiff,                           )
                                            )
v.                                          )   CIVIL ACT. NO. 2:19-mc-3877-ECM
                                            )
RENT-A-CENTER, PLANO, TX,                   )
                                            )
       Garnishee                            )
                                            )
LEANDERSHAWN ADAMS,                         )
                                            )
       Defendant.                           )

                                       ORDER

       Upon consideration of the motion to dismiss (doc. 3) filed on July 18, 2019, and for

good cause, it is

       ORDERED that the motion to dismiss (doc. 3) is GRANTED and the Writ of

Garnishment be and is hereby DISMISSED.

       The Clerk of the Court is DIRECTED to close this matter.

       DONE this 26th day of July, 2019.



                                        /s/ Emily C. Marks
                                  EMILY C. MARKS
                                  CHIEF UNITED STATES DISTRICT JUDGE
